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                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                               www.nyeb.uscourts.gov


                                                 STATEMENT PURSUANT TO LOCAL
                                                   BANKRUPTCY RULE 1073-2(b)

DEBTOR(S):______________________________________________________
          Absolut Facilities Management, LLC                     CASE NO.:______________________

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

✔
     NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
     THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
2.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________
                             NO
     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES:________________________________________________________________________________________________

                                                                            1
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                                                                    [OVER]

     DISCLOSURE OF RELATED CASES (cont’d)

3.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
     NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
     be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


     TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

                                                                          Y
     I am admitted to practice in the Eastern District of New York (Y/N): __________

     CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

     I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
     indicated elsewhere on this form.



     __________________________________________                                       ______________________________________________
     Signature of Debtor’s Attorney                                                   Signature of Pro-se Debtor/Petitioner

                                                                                      ______________________________________________
                                                                                      255 Warner Avenue
                                                                                      Mailing Address of Debtor/Petitioner
                                                                                      Roslyn Heights, NY 10154
                                                                                      ______________________________________________
                                                                                      City, State, Zip Code

                                                                                      ______________________________________________
                                                                                      Email Address

                                                                                      ______________________________________________
                                                                                      Area Code and Telephone Number




     Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
     other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
     the dismissal of the case with prejudice.

     NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
     result.


                                                                      2
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Fill in this information to identify the case:
                                                                                                                                                                                 □ Check if
                                                                                                                                                                                 this is an
                                                                                                                                                                                 amended
    Debtor name: Absolut Facilities Management, LLC, et al.                                                                                                                      filing
    United States Bankruptcy Court for the: Eastern District of New York
    Case number (if known): ________________



Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                              12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include

Name of creditor and complete mailing address,                   Name, telephone number, and email                    Nature of the            Indicate if claim   Amount of unsecured claim
including zip code                                               address of creditor contact                          claim(for                 is contingent,     If the claim is fully unsecured, fill in
                                                                                                                      example, trade           unliquidated, or    only unsecured claim amount. If
                                                                                                                      debts, bank                  disputed        claim is partially secured, fill in total
                                                                                                                      loans,                                       claim amount and deduction for
                                                                                                                      professional                                 value of collateral or setoff to
                                                                                                                      services, and                                calculate unsecured claim.
                                                                                                                      government
                                                                                                                      contracts)
                                                                                                                                                                                 Deduction
                                                                                                                                                                   Total claim, for value
                                                                                                                                                                                            Unsecured
                                                                                                                                                                    if partially      of
                                                                                                                                                                                              Claim
                                                                                                                                                                      secured    collateral
                                                                                                                                                                                  or setoff

                                                                 Affiliates of Arba Group
               Affiliates of Arba Group
                                                                 Attn: Ira Smedra
               Attn: Ira Smedra
1                                                                PHONE: 323‐651‐1808                                  Trade                          U/D                                          $3,155,104.50
               6300 Wilshire Boulevard, Suite 1800
                                                                 FAX: 323‐651‐2222
               Los Angeles, CA 90048
                                                                 EMAIL: SmedraI@thearbagroup.com



                                                                 New York State Department of Health ‐ Office of Health
               New York State Department of Health ‐ Office of
                                                                 Insurance Programs (Cash Receipets Assessment)
               Health Insurance Programs (Cash Receipets
                                                                 Attn: Officer / Director
               Assessment)
2                                                                PHONE: 518‐474‐7553; 518‐474‐7553                      Government ‐ Non Tax          D                                           $2,161,000.00
               Attn: Officer / Director
                                                                 FAX: 518‐473‐2802
               One Commerce Plaza Rm 1432
                                                                 EMAIL: hfafmail@health.ny.gov;
               Albany, NY 12237
                                                                 richard.zahnleuter@health.ny.gov

               Internal Revenue Service                          Internal Revenue Service
               Attn: IRS Insolvency Section                      Attn: IRS Insolvency Section
3              2970 Market St                                    PHONE: 800‐973‐0424                                  Tax                            U/D                                          $1,640,696.00
               Mail Stop 5 Q30 133                               FAX: 855‐235‐6787
               Philadelphia, PA 19101‐7346                       EMAIL:

                                                                 American Plan Administrators
               American Plan Administrators
                                                                 Attn: Officer / Director
               Attn: Officer / Director
4                                                                PHONE: 718‐625‐6300                                  Trade                           U                                            $790,000.00
               18 Heyward St
                                                                 FAX: 718‐834‐1256
               Brooklyn, NY 11249
                                                                 EMAIL: info@apatpa.com

                                                                 Grandview Brokerage
               Grandview Brokerage
                                                                 Attn: Officer / Director
               Attn: Officer / Director
5                                                                PHONE: 718‐333‐1155                                  Trade                           U                                            $548,176.33
               P. O. Box 40317
                                                                 FAX: 917‐534‐6087
               Brooklyn, NY 11204
                                                                 EMAIL: michael@gvwins.com
                                                                 Grandison Management Inc.
               Grandison Management Inc.
                                                                 Attn: Officer / Director
               Attn: Officer / Director
6                                                                PHONE: 718‐336‐6600                                  Trade                           U                                            $488,811.63
               1413 38th St.
                                                                 FAX: 718‐336‐6616
               Brooklyn, NY 11218
                                                                 EMAIL:
                                                                 Clinical Staffing Resources
               Clinical Staffing Resources
                                                                 Attn: Officer / Director
               Attn: Officer / Director
7                                                                PHONE:                                               Trade                           U                                            $445,019.40
               c/o Wells Fargo Bank, N.A.
                                                                 FAX:
               Boston, MA 02284‐2932
                                                                 EMAIL:
                                                                 Trustaff Travel Nurses, LLC
               Trustaff Travel Nurses, LLC
                                                                 Attn: Officer / Director
               Attn: Officer / Director
8                                                                PHONE: 877‐880‐0346                                  Trade                           U                                            $439,352.35
               PO Box 63‐8231
                                                                 FAX:
               Cincinnati, OH 45263
                                                                 EMAIL: Efield@trustaff.com
                         Case 1-19-45422-ess                                Doc 1              Filed 09/10/19                Entered 09/10/19 22:37:05
Debtor Absolut Facilities Management, LLC, et al.                                                                                                             Case number (if known) __________
  Name of creditor and complete mailing address,                  Name, telephone number, and email                  Nature of the    Indicate if claim   Amount of unsecured claim
  including zip code                                              address of creditor contact                        claim(for         is contingent,     If the claim is fully unsecured, fill in
                                                                                                                     example, trade   unliquidated, or    only unsecured claim amount. If
                                                                                                                     debts, bank          disputed        claim is partially secured, fill in total
                                                                                                                     loans,                               claim amount and deduction for
                                                                                                                     professional                         value of collateral or setoff to
                                                                                                                     services, and                        calculate unsecured claim.
                                                                                                                     government
                                                                                                                     contracts)
                                                                                                                                                                        Deduction
                                                                                                                                                          Total claim, for value
                                                                                                                                                                                   Unsecured
                                                                                                                                                           if partially      of
                                                                                                                                                                                     Claim
                                                                                                                                                             secured    collateral
                                                                                                                                                                         or setoff
                                                                  Schwartz Sladkus Reich Greenberg Atlas
               Schwartz Sladkus Reich Greenberg Atlas
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  9                                                               PHONE: 212‐743‐7000                                Trade                   U                                            $400,000.00
               444 Madison Avenue, 6th Floor
                                                                  FAX: 212‐743‐7001
               New York, NY 10022
                                                                  EMAIL:
                                                                  Kaufman Borgeest & Ryan LLP
               Kaufman Borgeest & Ryan LLP
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  10                                                              PHONE: 212‐980‐9600                                Trade                   U                                            $381,829.55
               120 Broadway
                                                                  FAX: 212‐980‐9291
               New York, NY 10271
                                                                  EMAIL: webinfo@kbrlaw.com
               GuideOne Insurance                                 GuideOne Insurance
               Attn: Officer / Director                           Attn: Officer / Director
  11           c/o Alan Gray LLC                                  PHONE: 617‐426‐6255                                Trade                   U                                            $375,000.00
               88 Broad Street                                    FAX: 617‐695‐9084
               Boston, MA 02110                                   EMAIL: info@alangray.com
                                                                  Preventive Diagnostics, Inc.
               Preventive Diagnostics, Inc.
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  12                                                              PHONE: 800‐749‐9729                                Trade                   U                                            $344,937.93
               12 Spencer Street
                                                                  FAX: 888‐511‐9318
               Brooklyn, NY 11205
                                                                  EMAIL: orders@pdihealth.com

                                                                  Medical Staffing Network
               Medical Staffing Network
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  13                                                              PHONE: 800‐676‐8326                                Trade                   U                                            $333,042.18
               P. O. Box 840292
                                                                  FAX: 866‐526‐2856
               Dallas, TX 75284‐0292
                                                                  EMAIL: laurenmiska@ msnhealth.com

                                                                 Favorite Healthcare Staffing, Inc.
               Favorite Healthcare Staffing, Inc.
                                                                 Attn: Officer / Director
               Attn: Officer / Director
  14                                                             PHONE: 913‐383‐9733                                 Trade                   U                                            $321,156.10
               PO Box 26225
                                                                 FAX: 913‐383‐9892
               Overland Park, KS 66225
                                                                 EMAIL: Corporate@FavoriteStaffing.com
                                                                 American Express
               American Express
                                                                 Attn: Officer / Director
               Attn: Officer / Director
  15                                                             PHONE: 212‐640‐2000                                 Trade                   U                                            $320,000.00
               200 Vesey St
                                                                 FAX: 212‐619‐8942
               New York, NY 10285
                                                                 EMAIL:
                                                                 TwinMed
               TwinMed                                           Attn: Officer / Director
               Attn: Officer / Director                          PHONE: 877‐894‐6633
  16                                                                                                                 Trade                   U                                            $301,318.24
               11333 Greenstone Avenue                           FAX: 323‐319‐9188
               Santa Fe Springs, CA 90670                        EMAIL: twinmedbilling@twinmed.com;
                                                                 twinmedpurchasing@twinmed com
               New York State Department of Taxation and Finance New York State Department of Taxation and Finance
               Attn: Office of Counsel                           Attn: Office of Counsel
  17           Building 9                                        PHONE: 518‐485‐6027                                 Tax                    U/D                                           $249,942.00
               W A Harriman Campus                               FAX:
               Albany, NY 12227                                  EMAIL:
                                                                  Paterson Healthcare Interior Design
               Paterson Healthcare Interior Design
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  18                                                              PHONE: 718‐252‐4300                                Trade                   U                                            $236,295.76
               1167 East 26th St.
                                                                  FAX:
               Brooklyn, NY 11210
                                                                  EMAIL: info@patersonconnect.com
                                                                  SolaMed 02, LLC
               SolaMed 02, LLC
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  19                                                              PHONE:                                             Trade                   U                                            $224,566.55
               5308‐13th Ave.
                                                                  FAX:
               Brooklyn, NY 11219
                                                                  EMAIL:
                                                                  Interstate Capital Corporation
               Interstate Capital Corporation
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  20                                                              PHONE:                                             Trade                   U                                            $200,211.80
               Quality Medical Staffing Agency,LLC
                                                                  FAX:
               Dallas, TX 75391‐5183
                                                                  EMAIL:
                                                                  Fidelis
               Fidelis
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  21                                                              PHONE: 636‐922‐9252                                Trade                   U                                            $180,561.45
               PO Box 955502
                                                                  FAX: 314‐754‐9165
               St Louis, MO 63195‐5502
                                                                  EMAIL:
                                                                  Accountable Healthcare Staffing, Inc
               Accountable Healthcare Staffing, Inc
                                                                  Attn: Officer / Director
               Attn: Officer / Director
  22                                                              PHONE: 888‐740‐4341                                Trade                   U                                            $176,040.26
               PO Box 732800
                                                                  FAX:
               Dallas, TX 75373
                                                                  EMAIL:




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                         Case 1-19-45422-ess                           Doc 1             Filed 09/10/19                    Entered 09/10/19 22:37:05
Debtor Absolut Facilities Management, LLC, et al.                                                                                                        Case number (if known) __________
  Name of creditor and complete mailing address,              Name, telephone number, and email                 Nature of the    Indicate if claim   Amount of unsecured claim
  including zip code                                          address of creditor contact                       claim(for         is contingent,     If the claim is fully unsecured, fill in
                                                                                                                example, trade   unliquidated, or    only unsecured claim amount. If
                                                                                                                debts, bank          disputed        claim is partially secured, fill in total
                                                                                                                loans,                               claim amount and deduction for
                                                                                                                professional                         value of collateral or setoff to
                                                                                                                services, and                        calculate unsecured claim.
                                                                                                                government
                                                                                                                contracts)
                                                                                                                                                                   Deduction
                                                                                                                                                     Total claim, for value
                                                                                                                                                                              Unsecured
                                                                                                                                                      if partially      of
                                                                                                                                                                                Claim
                                                                                                                                                        secured    collateral
                                                                                                                                                                    or setoff
                                                              Sysco Frozen Foods
               Sysco Frozen Foods
                                                              Attn: Officer / Director
               Attn: Officer / Director
  23                                                          PHONE: 315‐672‐7000; 800‐736‐6000                 Trade                   U                                            $161,032.29
               2508 Warners Rd
                                                              FAX:
               Warners, NY 13164
                                                              EMAIL: info@syr.sysco.com
                                                              Lexington Insurance Company
               Lexington Insurance Company
                                                              Attn: Officer / Director
               Attn: Officer / Director
  24                                                          PHONE:                                            Trade                   U                                            $150,000.00
               c/o Global Recovery Services
                                                              FAX:
               Atlanta, GA 30348‐5795
                                                              EMAIL:
                                                              Harter, Secrest & Emery LLP
               Harter, Secrest & Emery LLP
                                                              Attn: Officer / Director
               Attn: Officer / Director
  25                                                          PHONE: 585‐232‐6500                               Services                U                                            $142,130.26
               1600 Bausch & Lomb Place
                                                              FAX: 585‐232‐2152
               Rochester, NY 14604‐2711
                                                              EMAIL: cwittlin@hselaw.com
                                                              Allstate Medical
               Allstate Medical
                                                              Attn: Officer / Director
               Attn: Officer / Director
  26                                                          PHONE: 718‐369‐7100                               Trade                   U                                            $139,707.77
               34 35th St. Bldg. #6
                                                              FAX: 718‐369‐7274
               Brooklyn, NY 11232
                                                              EMAIL:
                                                              Abe Schonfeld
               Abe Schonfeld
                                                              PHONE:
  27           1146 East 27th Street                                                                            Trade                   U                                            $131,770.50
                                                              FAX:
               Brooklyn, NY 11210
                                                              EMAIL:
                                                              Crown Energy Services, Inc.
               Crown Energy Services, Inc.
                                                              Attn: Officer / Director
               Attn: Officer / Director
  28                                                          PHONE: 716‐675‐3275                               Trade                   U                                            $116,656.41
               P.O. Box 260
                                                              FAX:
               West Seneca, NY 14224‐0260
                                                              EMAIL: info@crownenergy.com
                                                              Feldman, Kieffer & Herman, LLP
               Feldman, Kieffer & Herman, LLP
                                                              Attn: Officer / Director
               Attn: Officer / Director
  29                                                          PHONE: 716‐852‐5875                               Services                U                                             $98,019.70
               The Dun Bldg,
                                                              FAX: 716‐852‐4253
               Buffalo, NY 14202
                                                              EMAIL: info@feldmankieffer.com

                                                              MAXIM Healthcare Service
               MAXIM Healthcare Service
                                                              Attn: Officer / Director
               Attn: Officer / Director
  30                                                          PHONE: 704‐366‐8019; 800‐796‐2946; 410‐677‐4900   Trade                   U                                             $92,307.17
               7227 Lee Deforest Drive
                                                              FAX: 410‐910‐1600
               Columbia , MD 21046
                                                              EMAIL:




Official Form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  Page 3
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        Case 1-19-45422-ess     Doc 1    Filed 09/10/19    Entered 09/10/19 22:37:05




                                                   Israel Sherman owns 54% of this entity.
   Absolut Center for Nursing and Rehabilitation   Absolute Facilities Management, LLC
   at Allegany, LLC                                (“AFM”) owns 45% of this entity. In
                                                   turn, AFM is 100% owned by Israel
                                                   Sherman.

                                                   Israel Sherman owns 54% of this entity.
   Absolut Center for Nursing and Rehabilitation   AFM owns 45% of this entity. In turn,
   at Aurora Park, LLC                             AFM is 100% owned by Israel Sherman.


                                                   Israel Sherman owns 54% of this entity.
   Absolut Center for Nursing and Rehabilitation   AFM owns 45% of this entity. In turn,
   at Gasport, LLC                                 AFM is 100% owned by Israel Sherman.

                                                   Israel Sherman owns 54% of this entity.
   Absolut Center for Nursing and Rehabilitation   AFM owns 45% of this entity. In turn,
   at Orchard Brooke, LLC                          AFM is 100% owned by Israel Sherman.


                                                   Israel Sherman owns 54% of this entity.
   Absolut Center for Nursing and Rehabilitation   AFM owns 45% of this entity. In turn,
   at Orchard Park, LLC                            AFM is 100% owned by Israel Sherman.


                                                   Israel Sherman owns 54% of this entity.
   Absolut Center for Nursing and Rehabilitation   AFM owns 45% of this entity. In turn,
   at Three Rivers, LLC                            AFM is 100% owned by Israel Sherman.


                                                   Israel Sherman owns 54% of this entity.
   Absolut Center for Nursing and Rehabilitation   AFM owns 45% of this entity. In turn,
   at Westfield, LLC                               AFM is 100% owned by Israel Sherman.




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233620-10001
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                    Case 1-19-45422-ess           Doc 1      Filed 09/10/19   Entered 09/10/19 22:37:05
DocuSign Envelope ID: 12A2F08B-4DEB-45D9-8FE5-0300FF74D530




                                      ABSOLUT FACILITIES MANAGEMENT, LLC
                                     A NEW YORK LIMITED LIABILITY COMPANY

                                      CERTIFICATE OF COMPANY RESOLUTIONS

                  The undersigned, as the sole Member (the “Member”) and the Independent Advisor (the
            “Advisor”) of Absolut Facilities Management, LLC, a New York limited liability company (the
            “Company”), does hereby certify as follows:

                    WHEREAS, the Member consents to the adoption of the resolutions set forth herein by written
            consent and to the taking of any and all actions by Israel Sherman (“Sherman”), Michael Wyse (the
            “Chief Restructuring Officer” and, together with Sherman, the “Authorized Officers”), the Company,
            and the Company’s employees and representatives necessary or appropriate to give effect to such
            resolutions and directs that this consent be placed in the minutes and records of the Company.

                     NOW, THEREFORE, BE IT:

                         RESOLVED, that the Member and the Advisor have determined that (i) it is in the
                         Company’s best interest for the Company to file for relief under chapter 11 of title 11
                         of the United States Code (the “Bankruptcy Code”), (ii) it is in the best interest of each
                         entity listed on Schedule I attached hereto, each of which is managed by the Company,
                         as Manager, to file for relief under chapter 11 of the Bankruptcy Code;

                         RESOLVED, that the Authorized Officers and the Company’s employees and
                         representatives are authorized to proceed with the preparation and filing of a voluntary
                         petition for relief under chapter 11 of the Bankruptcy Code for the Company, to be
                         filed as and at a time the Authorized Officers deem appropriate; and

                         RESOLVED, that the law firm of Loeb & Loeb LLP be, and hereby is, retained as
                         attorneys for the Company to advise the Company in connection with its chapter 11
                         bankruptcy filing, subject to approval (for services rendered after the filing of a
                         bankruptcy petition) of the Bankruptcy Court, and the retention of Loeb & Loeb LLP
                         to perform all services rendered to date in aid of the Company’s prospective chapter
                         11 filing and otherwise is hereby ratified in all respects; and

                         RESOLVED, that Prime Clerk LLC be, and hereby is, retained as claims, balloting
                         and noticing agent, subject to approval (for services rendered after the filing of a
                         bankruptcy petition) of the Bankruptcy Court, and the retention of Prime Clerk LLC to
                         perform all services rendered to date in aid of the Companies’ prospective chapter 11
                         filings and otherwise is hereby ratified in all respects; and

                         RESOLVED, that the Company is hereby authorized to and approved to enter into a
                         Debtor in Possession financing agreement with ABS DIP LLC as lender, an entity
                         related to and controlled by the Member and all documents ancillary thereto (the “DIP
                         Loan Documents”) (such approval to be evidenced by the signature thereon of such
                         Authorized Officer or his designee) after and in connection with the Company’s
                         bankruptcy filing, pursuant to which the Company shall be authorized to borrow


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                         money secured by substantially all of the Company’s assets, subject to the terms of the
                         DIP Loan Documents and approval of the Bankruptcy Court; and

                         RESOLVED, that the Authorized Officers, and any other Company employee or
                         representative (including, without limitation, Loeb & Loeb LLP) designated by the
                         Authorized Officers, is authorized to negotiate with the Company’s creditors and
                         prepare and propose the terms of a plan of reorganization or other creditor treatment as
                         he (or his designees) may deem to be feasible and in the best interest of the Company
                         and its creditors; and

                         RESOLVED, that the Authorized Officers are hereby specifically authorized: (i) to
                         prepare and file (or to have prepared and filed) on behalf of the Company a petition
                         for relief under chapter 11 of the Bankruptcy Code; (ii) to execute on behalf of the
                         Company such petitions, schedules and statements as he may deem necessary or
                         appropriate in connection therewith; and (iii) to execute such further documents and
                         do such further acts as the Authorized Officers may deem necessary or appropriate
                         with respect to the foregoing, or any of the other resolutions set forth herein, including
                         the filing of any petition or motion for relief under any other chapter of the
                         Bankruptcy Code, the execution of any document or the doing of any act by the
                         Authorized Officers or their designees in connection with such proceedings to be
                         conclusively presumed to be authorized; and

                         RESOLVED, that the Authorized Officers are authorized to authorize and/or direct
                         the filing by Loeb & Loeb LLP of any paper, pleading or other document, or the
                         taking of any other action by Loeb & Loeb LLP, that he may deem necessary or
                         appropriate in connection with the Company’s chapter 11 case or restructuring efforts;
                         and

                         RESOLVED, that the Authorized Officers be, and hereby are, authorized on behalf of
                         the Company to take any and all actions, to execute, deliver, certify, file and/or record
                         and perform any and all documents, agreements, instruments, motions, affidavits,
                         applications for approval or rulings of governmental or regulatory authorities or
                         certificates and to take any and all steps, including the payment of any costs, fees or
                         expenses, deemed by the Authorized Officers to be necessary or desirable to carry out
                         the purposes and intent of each of the foregoing resolutions and to effectuate a
                         successful chapter 11 case; and

                         RESOLVED, that any and all actions heretofore taken by the Authorized Officers or
                         their designees, including without limitation any Company employee or
                         representative, in the name and on behalf of the Company in furtherance of the
                         purpose and intent of any or all of the foregoing resolutions, be, and hereby are,
                         ratified, confirmed and approved in all respects; and

                         RESOLVED, that any authority of the Authorized Officers as authorized herein may
                         be exercised and taken by each Authorized Officer, acting without the other.




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                    The undersigned further certifies that the foregoing resolutions are in full force and effect on the
            date hereof as resolutions duly adopted by the Member and the Advisor and have been in full force
            and effect at all times subsequent to their adoption, not having been amended, repealed or modified.

                  IN WITNESS WHEREOF, the undersigned has executed this certificate as of
            September 10, 2019.



            MEMBER:




            Israel Sherman



            ADVISOR:




            William K. Lenhart




                  [Signature page to Absolut Facilities Management, LLC Certificate of Company Resolutions]




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                                                             Schedule I
                                                              Entities

                    Absolut Center for Nursing and Rehabilitation at Westfield, LLC
                    Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                    Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC
                    Absolut Center for Nursing and Rehabilitation at Gasport, LLC
                    Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC
                    Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC
                    Absolut at Orchard Brooke, LLC




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